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                       UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA,

      v.
                                               Crim. No. 17-10378-NMG
BRIAN AUGUSTINE JOYCE,

             Defendant.


   BRIEF OF AMICI CURIAE THE MASSACHUSETTS BAR ASSOCIATION, THE
   MASSACHUSETTS ASSOCIATION OF CRIMINAL DEFENSE LAWYERS, THE
   ACLU OF MASSACHUSETTS, INC., AND 71 INDIVIDUAL MASSACHUSETTS
     ATTORNEYS IN OPPOSITION TO THE GOVERNMENT’S MOTION FOR
                    DISQUALIFICATION OF COUNSEL



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                    STATEMENT OF INTEREST OF AMICI CURIAE

       Amicus curiae the Massachusetts Bar Association (“MBA”), founded in 1910, is a non-

profit organization that serves the legal profession and the public by promoting the

administration of justice, legal education, professional excellence and respect for the law. The

MBA is the largest bar association in Massachusetts, with approximately 12,000 members state-

wide. It is comprised of a House of Delegates that consists of a president, president-elect, vice-

president, treasurer, secretary, the two most immediate, living past presidents, 18 regional

delegates, seven at-large delegates, chairs of the twenty one section councils and others. The

MBA is governed by a set of bylaws, which were most recently approved by the members in

March of 2014. The mission of the MBA is to provide professional support and education to

members, and advocacy on behalf of lawyers, legal institutions and the public. As part of its

advocacy goal, the MBA has formed an Amicus Curiae Committee (“ACC”) to evaluate certain

litigation in which the MBA may be interested in participating. Upon the receipt of a proposal

from the ACC, the House of Delegates votes on whether the MBA should participate in the cause

through the filing of an amicus curiae brief. The ACC has determined that the issues raised in

this case so affect the public policy of the Commonwealth of Massachusetts that a brief amicus is

warranted. The House of Delegates has approved its filing.

       Amicus curiae the Massachusetts Association of Criminal Defense Lawyers (“MACDL”),

an affiliate of the National Association of Criminal Defense Lawyers, is the preeminent

association of criminal defense lawyers in Massachusetts. Its mission is to provide support for

criminal defense lawyers in their professional practices, including submitting amicus briefs and

providing other services that will improve the quality of representation of the accused; to protect

the individual rights of the citizens of the Commonwealth as guaranteed by the Declaration of



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Rights of the Massachusetts Constitution and the United States Constitution, including,

especially, the right to counsel; to maintain the integrity and independence of criminal defense

lawyers; to preserve the adversary system of justice; and to coordinate efforts with national and

local bar associations that are concerned with criminal justice.

       Amicus curiae the American Civil Liberties Union of Massachusetts, Inc. (“ACLUM”),

an affiliate of the national American Civil Liberties Union, is a statewide nonprofit membership

organization dedicated to the principle of liberty and equality embodied in the constitutions and

laws of the Commonwealth and the United States.

       Also joining this brief as amici curiae are 71 experienced members of the Massachusetts

Bar, including attorneys who represent individuals and entities who may be targets or subjects of

federal criminal investigations. The attorneys, who sign this brief individually below, are:

John Amabile                        Emily F. Hodge                     Emma Quinn-Judge
Laura B. Angelini                   Thomas M. Hoopes                   James C. Rehnquist
Michael P. Angelini                 David Hoose                        John Reinstein
David Apfel                         Michael. S. Hussey                 Dean Richlin
Peter E. Ball                       Michael B. Keating                 Ian D. Roffman
Robert Blaisdell                    Paul V. Kelly                      Edward P. Ryan, Jr.
Douglas S. Brooks                   Jonathan L. Kotlier                Christine G. Savage
Thomas J. Butters                   William F. Lee                     Joseph F. Savage, Jr.
R.J. Cinquegrana                    Joshua S. Levy                     Kristen Schuler Scammon
Edward V. Colbert III               Frank A. Libby, Jr.                Emily R. Schulman
John J. Commisso                    Diana K. Lloyd                     Monica R. Shah
Michael J. Connolly                 Elizabeth A. Lunt                  Paul W. Shaw
Meghan M. Cosgrove                  Scott P. Lopez                     Bruce A. Singal
John H. Cunha, Jr.                  Daniel N. Marx                     William F. Sinnott
David Duncan                        Elizabeth J. McEvoy                Carol Starkey
Laura E. Dwyer                      Tracy A. Miner                     Callan G. Stein
Thomas E. Dwyer, Jr.                Anthony Mirenda                    Donald K. Stern
L. Ettenberg                        Brien T. O’Connor                  Rachel Stroup
William W. Fick                     Ruth O’Meara-Costello              Melissa B. Tearney
Thomas C. Frongillo                 Robert L. Peabody                  Nicholas C. Theodorou
Lenore Glaser                       Mark W. Pearlstein                 Michael J. Tuteur
James J. Gribouski                  Michelle R. Peirce                 Sarah R. Wunsch
Scott Harshbarger                   Thomas E. Peisch                   Norman S. Zalkind
Geraldine S. Hines                  Damien C. Powell


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       Amici seek to provide information to this Court regarding the far-reaching negative

implications of a ruling for the government on the motion before the Court. In particular, amici

are concerned that the order the government seeks would impermissibly infringe on criminal

defendants’ Sixth Amendment right to be represented by counsel of their choice, and would also

impair the effective legal defense of respondents in a broad range of investigative matters and

disputes in circumstances where there is reason to believe federal criminal charges may follow.

       A motion requesting leave to file was submitted in tandem with this brief. No party’s

counsel authored this amici curiae brief in whole or in part. No party or party’s counsel, and no

person other than amici, their members, or their counsel, contributed money intended to fund the

preparing or submitting of this brief.




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                                       INTRODUCTION

       The government seeks an order disqualifying Howard M. Cooper, Esq., of Todd & Weld

LLP as defense counsel for defendant Brian Joyce. The government states that it intends to call

Cooper as a trial witness to testify to his client’s having provided false information contained in

Cooper’s pre-charge advocacy on Joyce’s behalf, and thus Cooper must be disqualified. It

maintains that position even though Joyce has offered to stipulate that he provided the

information at issue and reviewed and authorized Cooper’s communications cited in the

Indictment, and has offered to waive any advice-of-counsel defense. In effect, the government

would have this Court disqualify a criminal defendant’s counsel of choice to establish facts that

are not even in dispute.

       A decision for the government on the disqualification motion would have far-reaching

and troubling Sixth Amendment implications. The government’s motion is controlled by United

States v. Diozzi, 807 F.2d 10 (1st Cir. 1986), which held that disqualifying counsel of choice

“should be a measure of last resort.” Id. at 12. In Diozzi, the First Circuit reversed the

defendants’ convictions where the trial court had disqualified counsel after the defendants had

offered a stipulation that is substantially identical to the one offered here. Disqualifying Cooper

would therefore directly contradict Diozzi and implicate the United States Supreme Court’s

concerns that needlessly disqualifying counsel could encourage the government “to

‘manufacture’ a conflict in order to prevent a defendant from having a particularly able defense

counsel at his side.” United States v. Wheat, 486 U.S. 153, 163 (1988).

       Beyond its implications for the Sixth Amendment in this case, granting the present

motion would threaten ethical and effective advocacy by counsel in numerous other cases. It

would encourage the government to seek to disqualify counsel more frequently in any of the



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array of circumstances in which defense counsel may advocate on a client’s behalf and might

present what the government may later claim to be inaccurate information. It would encourage

more frequent disruption of the relationship of trust that defendants have developed with counsel

during the investigation phase, and would add tremendously to the cost of defense in those cases.

It also would unnecessarily constrain counsel’s pre-charge advocacy, given the concern that pre-

charge statements could later lead to a motion to disqualify. Amici respectfully submit that the

disqualification motion should be denied.

                                        BACKGROUND

       Senator Joyce engaged Cooper and his firm, Todd & Weld, in March 2015. In 2015 and

2016, Cooper represented Joyce in advocating before the Massachusetts State Ethics

Commission and in communications with The Boston Globe. Cooper’s advocacy concerned the

Commission’s inquiries as to whether Joyce had improperly (i) received free coffee from a legal

client in return for favorable legislative acts; (ii) filed legislation that would have benefited a

client without making required disclosures; (iii) appeared before the Division of Insurance for an

insurance company client while concealing his financial interest; and (iv) used retirement money

to purchase stock in that company. D.I. 51, Ex. A.

       Cooper then represented Joyce in connection with the ensuing federal grand jury

investigation beginning in February 2016. In late 2016, the grand jury issued a subpoena that

called for Cooper to testify before the grand jury and to produce files relating to his

representation of Joyce. In March 2017, Judge Young granted in substantial part Cooper’s

motion to quash the subpoena, denying it only as to certain factual communications that were

non-privileged because Joyce had disclosed them to Cooper and given Cooper authority to

disclose them to third parties. In re Grand Jury Subpoena, 273 F. Supp. 3d 296, 300 (D. Mass.



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2017). In his ruling, Judge Young expressed “grave concern” that the government may be using

its subpoena power to “turn[] defense counsel into a witness,” thereby “disqualif[ying] counsel

from representing [his client] due to an artificially-created conflict of interest.” Id. at 306. At

the hearing on the motion to quash, the government stated that it had no basis to believe that

Cooper knew that any statement he had submitted on Joyce’s behalf was false. March 30, 2017,

Hearing Tr. at 5-6. Pursuant to Judge Young’s order, Cooper and his firm then produced certain

redacted documents to the government. The government did not move to compel Todd &Weld’s

further production of documents or otherwise claim during the grand jury investigation that the

redacted documents failed to satisfy Judge Young’s order.

        In December 2017, the grand jury returned a 113-count indictment of Joyce, charging

him with violation of the Racketeer Influenced and Corrupt Organizations Act, mail and wire

fraud (under a theft of honest services theory), and extortion. D.I. 3. The indictment cites

statements made by Todd & Weld in three submissions on Joyce’s behalf as bases for

racketeering acts and/or substantive counts:

            •   Todd & Weld’s letter to The Boston Globe on April 3, 2015, referring to an
                invoice and a 2014 check for coffee that Joyce allegedly backdated (racketeering
                act 15A-6 in Count 1 and Count 77, mail fraud);

            •   Cooper’s letter to the Ethics Commission on January 27, 2016, contending that
                Joyce did not believe legislation he had drafted could be seen as benefiting his
                insurance company client (racketeering act 13B-50 in Count 1, and Count 70,
                mail fraud); and

            •   Cooper’s letter to the Ethics Commission on February 5, 2016, contending that
                Joyce received the coffee as compensation for legal services (racketeering act
                15A-8 in Count 1, and Count 79, wire fraud).

D.I. 3, at 61, 67, 79-81.

        Cooper and Todd & Weld remain Joyce’s counsel of choice in his defense of the pending

charges, which arise from the same conduct investigated by the Ethics Commission and reported


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upon by The Globe. The government now moves to disqualify Cooper as defense counsel on the

ground that it intends to call Cooper as a witness regarding the three charged communications

and perhaps others made on Joyce’s behalf. D.I. 51, at 12-21.

       We are advised that Joyce, in opposing the motion, has informed the government that he

will provide a stipulation confirming (i) that Joyce reviewed, approved, and authorized the

submission of each of the three statements at issue; and (ii) that Joyce will waive any reliance on

an advice of counsel defense at trial and participate in a colloquy before the Court to confirm that

his waiver of any such reliance is knowing and voluntary, after being advised by separate

counsel. The government nonetheless pursues the disqualification and discovery motion.

                                          ARGUMENT

       A.      DISQUALIFICATION OF DEFENDANT’S COUNSEL OF CHOICE ON THIS
               RECORD WOULD VIOLATE HIS SIXTH AMENDMENT RIGHTS AND
               CREATE TROUBLING PRECEDENT FOR FUTURE CASES.

       This Court should deny the government’s motion to disqualify Cooper.                     The

government’s motion implicates one of the most important rights possessed by a criminal

defendant – the choice of defense counsel – and it has shown no need for that right to be

extinguished in this case.

       The government’s disqualification motion is squarely foreclosed by the First Circuit’s

decision in Diozzi, which set aside a jury verdict convicting two defendants of multiple counts of

income tax evasion, because the pretrial disqualification of their defense attorneys had violated

their Sixth Amendment right to counsel of choice. 807 F.2d at 11. The First Circuit recognized

that the Sixth Amendment right to counsel of choice is “qualified,” but warned that

disqualification “should be a measure of last resort,” and that therefore, “[i]n moving to

disqualify [defendants’] chosen counsel, the government bears a heavy burden of establishing



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that disqualification is justified.” Id. at 12. 1 Where, as here, the government’s proffer of a

defense attorney’s testimony will force the attorney’s removal, the government may call the

witness (and disqualification may be appropriate) only if, without his or her testimony, “the

government must settle for less than its best evidence.” Id. at 13 (quotation marks omitted);

United States v. Hallock, 941 F.2d 36, 44 (1st Cir. 1991).       Thus, in Diozzi, the First Circuit

reversed the convictions because the defense had offered a stipulation that satisfied the

government’s need for evidence that the defendants had made and authorized the allegedly false

submissions to the IRS, ruling that the disqualification of counsel in those circumstances was

impermissible. 807 F.2d at 13-14.

       The government’s attempts to distinguish Diozzi are unpersuasive.           In particular, in

arguing that the crime-fraud exception to attorney-client privilege applies in this case, the

government ignores the crucial difference between a defendant’s using a lawyer to commit a

crime (a circumstance not present here) and a defendant’s engaging a lawyer to present a spirited

defense, as Joyce did in this case. The former warrants the application of the crime-fraud

exception, the latter does not.

       In contrast to this case and Diozzi, where attorneys were enlisted to defend against

government accusations of wrongdoing, the crime-fraud exception applies “where the client


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        See also, e.g., United States v. Turner, 594 F.3d 946, 953 (7th Cir. 2010) (the “mere
possibility” that the defendant’s co-conspirator, represented by the same counsel as defendant,
would decide to cooperate with the government against the defendant, did not “justify[] the
disqualification of . . . counsel”); United States v. Curcio, 694 F.2d 14, 27 (2d Cir. 1982) (“[a]
defendant’s choice of counsel is not to be dealt with lightly or arbitrarily” and the choice “should
not be interfered with in cases where potential conflicts of interest are highly speculative”
(quotation marks omitted)); In re Grand Jury Investigation, No. 03-123-LDD, 2006 WL
2385518, at *3 (E.D. Pa. May 16, 2006) (stating that “the government bears a ‘heavy burden’ in
proving [an actual conflict or serious potential for an actual conflict] due to the ramifications of
finding a conflict of interest,” including disqualification of counsel (citing Diozzi, 807 F.2d at
12)).

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sought or employed legal representation in order to commit or facilitate a crime or fraud.” In re

Grand Jury Proceedings, 417 F.3d 18, 22 (1st Cir. 2005). This case is fundamentally different

than United States v. Gorski, 807 F.3d 451 (1st Cir. 2015), in which the First Circuit held that

the crime-fraud exception applied where there was “complete congruence” between the scope of

the representation and the client’s fraudulent purpose. Id. at 462. There, the court found that

Gorski’s company engaged the law firm with the intent of having the firm document a

transaction that advanced the charged scheme of misrepresenting that Gorski’s business was

majority-owned by a service-disabled veteran. Id. at 461. Here, the government cites no

evidence that Joyce’s purpose in retaining Cooper was to enable him to carry out the charged

offenses. Rather, all indications are that Joyce retained Cooper for the far more commonplace

purpose of representing him in connection with past conduct – specifically, the ethical and/or

legal issues that had been raised in the 2015 Globe articles. See also Clark v. United States, 289

U.S. 1, 15 (1933) (the crime-fraud exception applies when “[a] client . . . consults an attorney for

advice that will serve him in the commission of a fraud”).

       The government also claims that “[n]o affidavit or stipulation” can reveal all of the “facts

and circumstances” that contributed to Cooper’s statements (Mot. 14), but that claim cannot

distinguish Diozzi because it is true of every statement made by a lawyer on a client’s behalf.

Every factual assertion by a lawyer has a story behind it. What was sufficient in Diozzi, and

what is sufficient here, is that the defendant has stipulated to his responsibility for the lawyer’s

representations. See 807 F.2d at 12-14.

       Given the absence of any workable limiting principle, the government’s disqualification

motion effectively seeks to allow the government to remove defense attorneys almost at will

whenever defense counsel has made a pre-charge, exculpatory statement on behalf of his or her



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client that the government claims to be false. In this way, a decision for the government here

would fail to heed the Supreme Court’s warning to courts in Wheat, 486 U.S. 153, to guard

against the risk that the government might seek to disqualify criminal defense counsel for tactical

reasons. Noting that “the Government may seek to ‘manufacture’ a conflict in order to prevent a

defendant from having a particularly able defense counsel at his side,” the Wheat Court

admonished trial courts to “take [this possibility] into consideration” in deciding whether to

disqualify an allegedly conflicted counsel. Id. at 163. Other federal courts have expressed

similar concerns that the government may seek disqualification for inappropriate tactical

reasons. 2

        The defendant’s right to choose his or her own counsel, while not absolute, is crucial to

the ability to shape his or her own defense. As the Third Circuit stated in United States v. Laura,

607 F.2d 52, 56 (3d Cir. 1979), “attorneys are not fungible”:

        We would reject reality if we were to suggest that lawyers are a homogenous
        group. Attorneys are not fungible, as are eggs, apples and oranges. Attorneys
        may differ as to their trial strategy, their oratory style, or the importance they give
        to particular legal issues. These differences, all within the range of effective and
        competent advocacy, may be important in the development of a defense.

Id. at 56. “Given this reality, a defendant’s decision to select a particular attorney becomes


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        See, e.g., In re Grand Jury Subpoena for Reyes-Requena, 913 F.2d 1118, 1130 (5th Cir.
1990) (expressing sensitivity to “concerns about unscrupulous attempts by the government to
overcome the presumption in favor of a defendant’s counsel of choice recognized by the
Supreme Court in Wheat” (brackets and quotation marks omitted)); United States v. Wilson, No.
10-20581, 2011 WL 740200, at *6 (E.D. Mich. Feb. 24, 2011) (acknowledging that “the
Government may seek to ‘manufacture’ a conflict” (quoting Wheat)); see also Margolin &
Coliver, Pretrial Disqualification of Criminal Defense Counsel, 20 Am. Crim. L. Rev. 227, 229
(1982) (“It is the authors’ opinion, based on familiarity with more than a dozen cases in which
such disqualification inquiries have been filed, that the government’s primary motive in bringing
such motions is to disqualify the most competent lawyers and firms, with little regard for their
reputation for ethical practice.”); Lowenthal, Successive Representation by Criminal Lawyers, 93
Yale L.J. 1, 55 (1983) (“There are reasons to believe that some motions to disqualify counsel in
criminal cases are also filed for tactical advantage.”).

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critical to the type of defense he will make.” Id.

       Where, as here, a defendant has not only selected an attorney, but also worked

extensively with him and his law firm, depriving him of his counsel of choice causes two

significant harms that infringe on the client’s Sixth Amendment rights. First, as the Third Circuit

has acknowledged, the defendant is deprived of the relationship of “intimacy and confidentiality”

he has developed with the attorney during the investigatory phase, qualities “which are important

to an effective attorney-client relationship” and crucial to an effective defense. Id. at 57.

       Second, on a practical level, a defendant whose counsel has been disqualified must incur

the added cost of retaining and bringing a new attorney (and usually attorneys) up to speed, on

top of the cost associated with the disqualification motion. Because disqualification of defense

counsel “imposes additional financial burdens on an already depleted defendant,” it should be a

“‘measure of last resort.’” United States v. Urbana, 770 F. Supp. 1552, 1556 (S.D. Fla. 1991)

(quoting Diozzi, 807 F.2d at 12). This is an extremely important consideration for defendants

given the high legal costs of defending a complex case such as this one even without such

disruption.

       The government cannot meet its heavy burden of establishing that it would be deprived of

its “best evidence” in light of the proffered stipulation. Ultimately, the government appears to

argue that it should be permitted to call Cooper as a witness and thereby disqualify him simply

by alleging that he might have knowledge of circumstances surrounding the allegedly false

statements made on Joyce’s behalf. Mot. 14. A disqualification order based solely on such

speculation would upend the stringent standards the First Circuit prescribed in Diozzi and create

troubling precedent.




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       B.      AN ORDER DISQUALIFYING COUNSEL WOULD APPLY TO A WIDE
               RANGE OF PRE-TRIAL ADVOCACY FOR POTENTIAL CRIMINAL
               DEFENDANTS.

       The government’s disqualification argument threatens a wide variety of advocacy that

counsel routinely undertake in defending matters that have both criminal and civil implications.

In addition to the fact patterns of this case and Diozzi (involving a submission to the IRS arguing

against prosecution), the following are examples of circumstances in which pre-charge advocacy

could be used to seek to exclude counsel of choice:

       (i)     Counsel regularly make written submissions to federal and state agencies arguing

that their clients’ conduct was compliant with applicable law or that particular sanctions are

unwarranted – including to the Departments of Defense and Health and Human Services, the

Food and Drug Administration, and Centers for Medicare and Medicaid Services, to name just a

few that have oversight over areas that lead frequently to federal criminal charges.           The

opportunity of respondents in Securities and Exchange Commission (“SEC”) investigations to

make a so-called Wells submission is one example of such pre-charge submissions. See SEC v.

Forman, No. 07-cv-11151-RWZ, 2010 WL 2367372, at *2 n.3 (D. Mass. Jun. 9, 2010) (a “Wells

notice issue[s] at the SEC’s discretion to inform an individual under investigation that the SEC is

considering” an enforcement proceeding, and “[t]he individual may respond with a Wells

submission raising arguments or presenting evidence” (citing 17 C.F.R. § 202.5(c)); SEC

Enforcement Manual § 3.2.3.2 (Nov. 28, 2017) (“During an investigation, persons may produce

to the staff, on a voluntary basis, substantive materials other than in response to Wells notices,

including, for example, white papers, PowerPoint decks, legal memos, or letter briefs.”).

       (ii)    Criminal charges are often accompanied by parallel civil cases, administrative

proceedings, or state criminal cases in which defense counsel may be called upon to make a

range of submissions including factual advocacy. See, e.g., Microfinancial, Inc. v. Premier

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Holidays Int’l, Inc., 385 F.3d 72, 77-79 (1st Cir. 2004) (no abuse of discretion in denying the

defendant’s request for a stay of civil proceedings pending a grand jury investigation; a party has

no right to a stay of civil proceedings “simply because a parallel criminal proceeding is in the

works”); see also, e.g., United States v. Coker, 298 F. Supp. 2d 184, 192 (D. Mass. 2003)

(describing parallel state and federal criminal investigations).

       (iii)   The government’s reasoning in this case could be extended even to pre-charge

advocacy with the United States Attorney’s Office or other offices in the Department of Justice.

Federal criminal targets frequently seek to persuade prosecutors not to charge by making written

submissions that include advocacy concerning anticipated evidence, in a range of formats

(letters, memoranda, white papers, PowerPoints, etc.).

       (iv)    The breadth of the government’s argument is particularly striking as it relates to

statements to the press; in matters of public interest, as in this case, attorneys are often in a

position of responding on the client’s behalf to pre-charge press coverage.

       In any or all of those contexts, prosecutors could later contend that factual assertions are

false and, as they now contend with respect to Joyce, that the defendant engaged counsel for the

purpose of having him make the false representations in order to facilitate or conceal the crime.

Thus, an aggressive prosecutor could cite the false statement as a reason to call defense counsel

as a witness, and thus disqualify counsel in the criminal case.

       C.      THE REQUESTED DISQUALIFICATION WOULD PUT ATTORNEYS IN AN
               ETHICALLY UNTENABLE SITUATION AND CONSTRAIN EFFECTIVE
               PRE-CHARGE ADVOCACY.

       A decision for the government in this case would have harmful secondary effects over

and above the direct effect of disqualification of counsel in this case and others.         These

secondary effects provide further reason to deny the government’s motion given the availability

to the government of the proffered stipulation.

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       First, a decision for the government would have a chilling effect on attorney advocacy.

Respondents in parallel civil or criminal proceedings or forums (including those listed above)

may be deprived of zealous advocacy if counsel believe that vigorous advocacy in other forums

may result in additional criminal charges against the client, the attorney being called as a

witness, or the client being forced to hire new counsel after the case is indicted.

       A disqualification order in these circumstances could place defense attorneys in the

difficult position of determining whether to violate their ethical obligations under Rule 1.3 of the

Massachusetts Rules of Professional Conduct to “represent a client zealously within the bounds

of the law.” Rule 1.3; see also Mass. Rules of Prof’l Conduct Preamble ¶ 2 (“As advocate, a

lawyer zealously asserts the client’s position under the rules of the adversary system.”).

Moreover, a lawyer also acts as a “negotiator” who “seeks a result advantageous to the client”

and an “evaluator” who “examine[s] a client’s legal affairs and report[s] about them . . . to

others.” Mass. Rules of Prof’l Conduct Preamble ¶ 2. Seeking disqualification could limit

counsel’s zealous advocacy and negotiation on his or her client’s behalf, given the risk of a

disqualification motion in a future criminal case. Disqualification therefore should occur only

when absolutely essential to the government’s ability to present its best case.

       It is especially important that counsel have latitude to argue zealously on the issue of a

target’s intent, a critical issue in most white-collar cases. Here, several of the charged statements

that Cooper made on Joyce’s behalf concern Joyce’s intent: for example, Cooper’s statements to

the Ethics Commission that Joyce did not believe legislation he had drafted could be seen as

benefiting his insurance company client (the implication being that Joyce did not intend to

benefit that client), p. 6, supra; and that Joyce had “always understood that the services he

provided exceeded the value of any coffee he received,” Mot. 11 (emphasis added); see also



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Mot. at 6 (referring to other statements made by Cooper on Joyce’s behalf to the Ethics

Commission regarding Joyce’s “understanding” and “belief”).

       A defendant’s intent inherently involves inferences from and interpretation of facts and

legal argument. See United States v. Woodward, 149 F.3d 46, 56 (1st Cir. 1998) (“the specific

intent to deceive may be proven (and usually is) by indirect and circumstantial evidence”

(quotation marks omitted)); United States v. DiMasi, 810 F. Supp. 2d 347, 353 (D. Mass. 2011)

(“Circumstantial evidence may be particularly important in determining a defendant’s intent.”);

see also Am. Communications Ass’n v. Douds, 339 U.S. 382, 411 (1950) (“[W]hile objective

facts may be proved directly, the state of a man’s mind must be inferred from the things he says

or does . . . . [C]ourts and juries every day pass upon knowledge, belief and intent – the state of

men’s minds – having before them no more than evidence of their words and conduct, from

which, in ordinary human experience, mental condition may be inferred.” (quotation marks

omitted)). Clients should be free to have their counsel make those arguments zealously (so long

as counsel is not making statements he or she knows to be false) without undue concern that the

advocacy will force counsel off the case in the event of a criminal charge. 3

       Second, a disqualification order would put attorneys in an untenable situation in cases

involving pre-charge publicity. The Massachusetts Rules of Professional Conduct state that

while a lawyer should generally avoid commenting publicly on her client’s case, she “may make

3
        Several recent acquittals in white-collar prosecutions in this district have been based on
lack of criminal intent. See, e.g., D.I. 432, in United States v. Facteau, No. 1:15-cr-10076-ADB
(Jul. 20, 2016) (finding that the defendants were not guilty on several counts because they had
not acted “with the intent to defraud or mislead”); D.I. 247, in United States v. Reichel, 1:15-cr-
10324-DPW (Jun. 17, 2016) (judgment of acquittal); D.I. 522, in United States v. DeNunzio,
1:14-cr-10284-NMG (Jul. 6, 2016) (judgment of acquittal). Presumably, in those and other
cases, intent was a key issue in targets’ pre-charge advocacy with the government. Targets’
ability to benefit from effective pre-charge advocacy would be diminished – and the criminal
justice system would be weakened for all parties – if their counsel felt they had to “pull punches”
out of concern that any written statements could lead to a disqualification motion.

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a statement that a reasonable lawyer would believe is required to protect a client from the

substantial undue prejudicial effect of recent publicity not initiated by the lawyer or the lawyer’s

client.” Mass. Rule of Prof’l Conduct 3.6(c); see also id. Comment 7 (“When prejudicial

statements have been publicly made by others, responsive statements may have the salutary

effect of lessening any resulting adverse impact on the adjudicative proceeding.”). An order

disqualifying Cooper could discourage reasonable lawyers from doing what they believe is

required to protect their clients from the prejudicial effect of negative pre-trial publicity

(consistent with the Local Rules of this Court), for fear that their statements to the press will be

charged as crimes and will result in their disqualification.

       Third, a disqualification order would set a precedent that would inevitably, and

unnecessarily, prejudice defendants.     Calling a defendant’s own former lawyer in the case

against the defendant has to create a strong negative impression on a jury, regardless of the

content of the lawyer’s testimony. In circumstances where there is a stipulation or affidavit

available such as the one proffered here, the prejudice of calling the lawyer as a witness far

outweighs any probative value of the lawyer’s testimony. Cf. Fed. R. Evid. 403.




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                                          CONCLUSION

       Given the government’s failure to show that it would be deprived of its “best evidence”

absent disqualification in light of the proffered stipulation, the disqualification order that it seeks

would diminish defendants’ Sixth Amendment rights to be represented by counsel of choice. It

would also impair the effective legal defense of respondents in a broad range of investigative

matters and disputes. For these reasons, this Court should deny the government’s motion.



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